                                NOT FOR PUBLICATION WITHOUT THE
                               APPROVAL OF THE APPELLATE DIVISION
        This opinion shall not "constitute precedent or be binding upon any court." Although it is posted on the
     internet, this opinion is binding only on the parties in the case and its use in other cases is limited. R. 1:36-3.




                                                        SUPERIOR COURT OF NEW JERSEY
                                                        APPELLATE DIVISION
                                                        DOCKET NO. A-0774-22

DONOVAN BEZER,

         Plaintiff-Appellant,

v.

CITY OF JERSEY CITY,
NEW JERSEY, JACOB V.
HUDNUT, in his capacity as
Chief Prosecutor of the City
of Jersey City, New Jersey,
and MARK BUNBURY, in
his capacity as Director of
Human Resources for the
City of Jersey City, New
Jersey,

     Defendants-Respondents.
__________________________

                   Submitted March 18, 2024 – Decided August 23, 2024

                   Before Judges Berdote Byrne and Bishop-Thompson.

                   On appeal from the Superior Court of New Jersey, Law
                   Division, Hudson County, Docket No. L-4373-19.

                   McOmber McOmber &amp; Luber, PC, attorneys for
                   appellant (Austin B. Tobin, on the briefs).
            Whipple Azzarello, LLC, attorneys for respondents
            (John A. Azzarello and Amy Valentine McClelland, on
            the brief).

PER CURIAM

      In this employment matter, plaintiff Donovan Bezer appeals from an

October 28, 2022 Law Division order granting summary judgment to defendants

the City of Jersey City (Jersey City), James V. Hudnut (Hudnut), and Mark

Bunbury (Bunbury) (collectively defendants), dismissing with prejudice Bezer's

claim under the Conscientious Employee Protection Act (CEPA), N.J.S.A.

34:19-1 to -8. We affirm.

                                      I.

      We summarize the following facts from the record, viewing the facts in

the light most favorable to plaintiff as the non-moving party. Statewide Ins.

Fund v. Star Ins. Co., 253 N.J. 119, 125 (2023). In December 2012, Bezer was

appointed as a part-time unclassified assistant municipal prosecutor for Jersey

City. In October 2016, he was assigned to prosecute housing violations in the

housing court.

      Pursuant to N.J.S.A. 2B:25-4(f), Hudnut was appointed as chief municipal

prosecutor for Jersey City in July 2018. Shortly thereafter, on July 19, 2018,

Hudnut circulated a memorandum to Jersey City's municipal prosecutors entitled


                                                                        A-0774-22
                                      2
"New Marijuana Decriminalization Policy" (July 19 Memo), stating, "effective

immediately[,] this office will no longer criminally prosecute marijuana

possession before the municipal courts of Jersey City." In that memo, Hudnut

exercised prosecutorial discretion to effectuate a new policy to amend "all-

marijuana related offenses" to local ordinance offenses resulting in non-criminal

dispositions. The memo provided guidance to assistant municipal prosecutors

concerning the dismissal of the amended charge and the diversion of marijuana

possession charges and signs of addiction to community court. After receiving

the July 10 Memo, Bezer expressed his concerns to Hudnut.

      In an email to the prosecutors sent two days later, Hudnut stated: "Trenton

has an issue with our marijuana policy. . . . The policy remains in place." He

further explained: "Despite what the Attorney General Gurbir Grewal's (AG

Grewal) letter said, we are not refusing to enforce the law. We are enforcing

the law, but as an ordinance." Prosecutors were advised that another update

would be provided after Hudnut met with AG Grewal.

      In a July 24, 2018 memo entitled "Statewide Guidance on Charging

Marijuana-Related Offenses in Municipal Court" (July 24 Memo), AG Grewal

notified all county prosecutors, county municipal prosecutor liaisons, and

municipal prosecutors that Hudnut's July 19 Memo "was an improper exercise


                                                                          A-0774-22
                                       3
of a municipal prosecutor's authority" and issued a letter "rendering the [July 19

Memo] void and without legal effect." The memo further notified prosecutors

that until a working group was convened, all prosecutors should "seek an

adjournment until September 4, 2018, or later, of any matter involving a

marijuana-related offense pending in municipal court."

      That same day, Hudnut sent an email to Jersey City assistant prosecutors

regarding the July 24 Memo and directed the assistant prosecutors to adjourn all

marijuana cases until after September 4, 2018. Bezer responded: "Huzzah!!

Great work!"

      In an August 17, 2018 memorandum entitled "Expectations of Prosecutors

and Office '[Reset]'" (Reset Memo), Hudnut provided guidance on his

expectations of the responsibilities of assistant prosecutors. The Reset Memo

addressed prosecutorial performance and office protocol.

      Three days later, Bezer sent Hudnut an email regarding a municipal waste

case that he was prosecuting. Bezer explained that he did not "believe [he] could

proceed in [the] trial insofar as [he felt] physically menaced by the defendant

and his counsel" after a court appearance and because he was "a fact witness to

what [he] believed was criminal witness tampering" in the case. He also stated




                                                                           A-0774-22
                                        4
he wanted to file a complaint regarding that incident but wanted to confer with

Hudnut for advice and feedback.

      The next day, Bezer met with Hudnut and expressed dissatisfaction with

the then-current assignment. Bezer told Hudnut that he was "unhappy," wanted

to be removed from the municipal waste case, and wanted to be transferred to a

different law department. He stated that prosecutors are not paid enough to meet

the expectations Hudnut presented in his Reset Memo, nor did he find it

appropriate that Hudnut was telling prosecutors how to manage their cases.

      During the meeting, Hudnut restated his expectations of assistant

municipal prosecutors. In regard to Bezer's municipal waste case, Hudnut told

Bezer a determination would be made after reviewing a report of the completed

investigation conducted by the Jersey City Police. Bezer responded that if he

was not removed from the case, at the next court appearance he would place on

the record that if the defendant repeated the menacing behavior, that Bezer

would "'hit' [defendant]." Bezer was directed not to threaten defendants and to

allow the police to investigate the matter. Following the meeting, Hudnut

emailed Human Resources Director Bunbury and sought advice on how to

proceed with Bezer.




                                                                         A-0774-22
                                       5
      On August 29, 2018, AG Grewal issued a memorandum to all county

prosecutors, county municipal prosecutor liaisons, and municipal prosecutors

entitled "Guidance Regarding Municipal Prosecutors' Discretion in Prosecuting

Marijuana and Other Criminal Offenses" (August 29 Memo). The August 29

Memo stated that "a municipal prosecutor may not adopt a categorial policy or

practice of refusing to seek convictions for statutory offenses related to

marijuana." A prosecutor's discretion is not unlimited and adopting a policy or

practice refusing to seek convictions for marijuana offenses would exceed a

prosecutor's discretion. The memo also stated that "municipal prosecutors must

exercise prosecutorial discretion on a case-by-case basis, considering the

particular facts and applicable law in each case." The August 29 Memo provided

eight non-exhaustive factors for prosecutors to consider in determining whether

to amend or dismiss a charge.

      That same day, in an email, Hudnut notified the assistant prosecutors

regarding the August 29 Memo. The email summarized the attorney general's

guidance on amending or dismissing marijuana offenses, including the eight

factors prosecutors should consider in making a decision.         The assistant

prosecutors were directed to first consult with Hudnut before offering a plea to




                                                                         A-0774-22
                                       6
a disorderly persons offense where defendant was charged with a marijuana or

marijuana-related paraphernalia.

      Shortly after Bezer began the municipal waste case, he had a medical

emergency on September 18 and the case was adjourned. Bezer was informed

by another prosecutor that he was directed to be ready for trial on November 28,

2018. Nevertheless, Bezer emailed the trial judge and opposing counsel and

expressed concern for his safety and the intention to use force to defend himself.

      On three occasions in October 2018, Bezer's work performance did not

meet his employer's expectations. One day, Bezer reported to work but left

about five minutes later. On another occasion, Bezer reported to work but left

less than one hour later to attend to a matter related to his private practice. Bezer

emailed another judge regarding the defendant in the municipal waste case and

expressed concerns for his safety, stating that violence was "inevitable" if he

continued to try the case, that he was no longer unbiased towards the defendant

and that he should no longer be the assigned prosecutor.

      On October 22, 2018, Bezer received a written reprimand regarding his

email to the judge threatening physical force against a litigant and the attorney

and prior discussions regarding his "deficient or problematic work performance,

work habit[,] or work-related behavior." That same day, Bezer was also served


                                                                              A-0774-22
                                         7
with a notice of minor disciplinary action, charging Bezer with insubordination,

chronic or excessive absenteeism or lateness, conduct unbecoming a public

employee, neglect of duty, and other sufficient cause – violation of the City's

policy regarding "misuse of City property" and "restrictions on employment"

pursuant to N.J.A.C. 4A:2-2.3(a). The notice specified Bezer's actions that

formed the basis of the disciplinary action. Plaintiff was suspended for one day,

which he served on October 23.

      Also on October 22, Bezer emailed Hudnut a "CEPA letter." Referencing

N.J.S.A. 2B:25-5, which requires municipal prosecutors to exercise their own

independent judgment in deciding whether to prosecute, downgrade, or dismiss

a case, Bezer stated that he believed the July 19 Memo usurped a municipal

prosecutor's right and duty to exercise their own independent judgment. He

iterated that on August 29, Hudnut "forbade [his] assistant prosecutors from

prosecuting a marijuana or marijuana-related paraphernalia [offense] as a

disorderly persons offense unless authorized by [Hudnut]" and this usurped the

independent professional judgment of assistant prosecutors.       Bezer further

expressed concern that municipal prosecutors could be subject to professional

discipline for not enforcing the law.




                                                                          A-0774-22
                                        8
      The parties dispute whether the notice of disciplinary action or the CEPA

letter was served first. On October 30, 2018, Jersey City notified defendant that

he was on administrative leave with pay until further notice but reasons were

not provided.

      Following an investigation, in a May 24, 2019 letter, Bezer was notified

that he was terminated from his position as assistant municipal court prosecutor

for conduct unbecoming and other sufficient cause. Bezer was provided with

the following reasons:

            The factual basis for the above charges are related to a
            review of allegations that you engaged in inappropriate,
            threatening behavior[,] and general conduct
            unbecoming a public employee. Specifically, that you
            targeted a City constituent and his[] attorney in relation
            to a trial that occurred in or around Spring/Summer
            2018, and further that you engaged in threatening and
            alarming emails and conduct as it relates to his attorney
            and that you engaged in improper ex parte
            communications with Chief Municipal Court Judge
            Carlo Abad in relation to an outstanding reckless
            driving ticket. Furthermore, please note that although
            the outside counsel investigating these allegations tried
            to contact you/your attorney on numerous occasions,
            you failed to comply with their requests and did not
            appear for an interview regarding this investigation.

      In November 2019, Bezer filed a single count complaint asserting a CEPA

claim. After discovery concluded, defendants moved for summary judgment,

asserting Bezer had failed to prove a CEPA violation. Bezer opposed, arguing

                                                                          A-0774-22
                                        9
that he satisfied the requisite elements to satisfy his CEPA claim.

      Following oral argument on October 28, 2022, the motion judge issued an

oral opinion, granting defendants' motion for summary judgment. Citing to the

relevant case law and analyzing the four elements required to establish a CEPA

claim, the motion judge concluded Bezer failed to satisfy the first element of a

CEPA claim. The judge stated: "I do not find it reasonable for [plaintiff] as a

prosecutor, as an attorney, to believe that on July 19, 2018[,] Hudnut . . . was

usurping [] plaintiff's independent professional judgment," "there's no clear

mandate of public policy that's being violated by Hudnut," and Hudnut was

"exercising his discretion." The judge found that the July 19 Memo was a

"policy judgment." Lastly, Bezer failed to establish that there was a causal

connection between his suspension and termination and his complaints

regarding Hudnut's marijuana polices. This appeal followed.

                                       II.

      On appeal, Bezer raises the following arguments:

            I.  [BEZER] HAS ESTABLISHED A PRIMA
            FACIE CASE OF RETALIATION PURSUANT TO
            THE REQUIREMENTS SET FORTH IN THE CEPA
            AND THEREFORE, THE TRIAL COURT'S ENTRY
            OF SUMMARY JUDGMENT SHOULD BE
            REVERSED.



                                                                         A-0774-22
                                      10
            A.  [BEZER] HAS PLED AND PROFFERED
            SUFFICIENT  EVIDENCE  DEMONSTRATING
            THAT HE HAD A REASONABLE BELIEF THAT
            DEFENDANTS' CONDUCT WAS ILLEGAL, AND
            THEREFORE, HAS SATISFIED THE FIRST
            REQUISITE ELEMENT FOR A VIABLE CEPA
            CLAIM.

            B.  THE     RECORD      UNEQUIVOCALLY
            ESTABLISHES THAT [BEZER] ENGAGED IN
            PROTECTED CONDUCT BY COMPLAINING
            ORALLY AND IN WRITING, OBJECTING TO THE
            DEFENDANTS' UNLAWFUL POLICY.

            C.   DEFENDANTS TOOK MULTIPLE ADVERSE
            ACTIONS AGAINST [BEZER] SUBSEQUENT TO
            HIS COMPLAINTS AS TO THE ILLEGALITY OF
            DEFENDANT HUDNUT'S POLICY.

            D.   THE RECORD CLEARLY ESTABLISHES A
            QUESTION OF MATERIAL FACT AS TO
            CAUSALITY BETWEEN DEFENDANTS' ADVERSE
            ACTIONS   AND   PLAINTIFF'S PROTECTED
            CONDUCT, AND THUS, SUMMARY JUDGMENT
            SHOULD BE REVERSED.

      We review a grant of summary judgment de novo, applying the same

standard as the trial court. Samolyk v. Berthe, 251 N.J. 73, 78 (2022). That

standard requires us to "determine whether 'the pleadings, depositions, answers

to interrogatories and admissions on file, together with the affidavits, if any,

show that there is no genuine issue as to any material fact challenged and that

the moving party is entitled to a judgment or order as a matter of law.'" Branch


                                                                         A-0774-22
                                      11
v. Cream-O-Land Dairy, 244 N.J. 567, 582 (2021) (quoting R. 4:46-2(c)).

"Summary judgment should be granted . . . 'against a party who fails to make a

showing sufficient to establish the existence of an element essential to that

party's case, and on which that party will bear the burden of proof at trial.'"

Friedman v. Martinez, 242 N.J. 449, 472 (2020) (quoting Celotex Corp. v.

Catrett, 477 U.S. 317, 322 (1986)). We do not defer to the trial court's legal

analysis or statutory interpretation. RSI Bank v. Providence Mut. Fire Ins. Co.,

234 N.J. 459, 472 (2018); Perez v. Zagami, LLC, 218 N.J. 202, 209 (2014).

      "The Legislature enacted CEPA to 'protect and encourage employees to

report illegal or unethical workplace activities and to discourage public and

private sector employers from engaging in such conduct.'" Allen v. Cape May

Cnty., 246 N.J. 275, 289 (2021) (quoting Dzwonar v. McDevitt, 177 N.J. 451,

461 (2003)). CEPA prohibits employers from retaliating against employees who

perform a whistleblowing activity. N.J.S.A. 34:19-3.

      To establish a prima facie CEPA claim, plaintiff is required to

demonstrate:

            (1) [they] reasonably believed that [their] employer's
            conduct was violating either a law, rule, or regulation
            promulgated pursuant to law, or a clear mandate of
            public policy; (2) [they] performed a "whistle-blowing"
            activity . . . ; (3) an adverse employment action was
            taken against [them]; and (4) a causal connection exists

                                                                         A-0774-22
                                      12
             between the whistle-blowing activity and the adverse
             employment action.

             [Allen, 246 N.J. at 290 (quoting Dzwonzar, 177 N.J. at
             462).]

      "The 'burden shifting analysis under the Law Against Discrimination

(LAD) should be applied the CEPA cases.'" Massarano v. New Jersey Transit,

400 N.J. Super. 474, 492 (App. Div. 2008) (quoting Zappasodi v. New Jersey,

Dept. of Corrections, 335 N.J. Super. 83, 89 (App. Div. 2000)). First, the

plaintiff has the burden to establish a prima facie CEPA claim. Allen, 246 N.J.

at 290-91 (quoting Kolb v. Burns, 320 N.J. Super. 467, 478 (App. Div. 1999)).

Second, once the plaintiff establishes a prima facie claim, the burden of

persuasion shifts to the defendant to establish "a legitimate, nondiscriminatory

reason for the adverse employment action." Ibid. Finally, if the defendant

satisfies its burden, the burden then shifts back to the plaintiff to prove that "the

employer's proffered reasons were a pretext for the discriminatory action taken

by the employer." Id. at 291 (quoting Kolb, 320 N.J. Super. at 478).

      Bezer renews the arguments presented before the motion judge. Bezer,

however, did not satisfy the first and fourth requisite elements to establish a

CEPA claim. As to the first element, we are not persuaded by Bezer's argument

that he reasonably believed that Hudnut violated a law or a clear mandate of


                                                                              A-0774-22
                                        13
public policy in establishing an internal policy outlined in the July 19 Memo.

Moreover, Hudnut directed all municipal court prosecutors to comply with the

subsequent memorandums issued by AG Grewal.

      "[A] direct causal link between the complaint by the employee and the

retaliatory action of the employer" is not required. Battaglia v. United Parcel

Serv., Inc., 214 N.J. 518, 558 (2013). A plaintiff can show a causal connection

exists between the whistleblowing activity and the adverse employment action

through "inferences that the trier of fact may reasonably draw based on

circumstances surrounding the employment action."         Maimone v. City of

Atlantic City, 188 N.J. 221, 237 (2006).      "The temporal proximity of the

employee conduct protected by CEPA and [the] adverse employment action is

one circumstance that may support an inference of a causal connection." Ibid.
      In regard to the fourth element, Bezer contends there is a causal

connection because he served his CEPA letter and received the notice of minor

disciplinary action on the same day, and therefore, defendants' reasons for his

suspension and ultimate termination were pretextual. Defendant's contention

lacks merit. The record here, however, is devoid of any facts from which a trier

of fact could reasonably conclude that there was a causal connection between

Bezer's CEPA letter and the disciplinary notice.


                                                                         A-0774-22
                                      14
      The record shows Bezer's termination was based on (1) inappropriate,

threatening, and alarming emails and conduct related to litigation and his

attorney, (2) improper ex parte communications with the Chief Municipal Court

Judge Carlo Abad in relation to an outstanding reckless driving ticket , and (3)

Bezer's failure to comply with outside counsel's investigation regarding those

allegations, including his failure to appear for an interview. We agree with the

motion judge that "[e]ven if [we] accept [Bezer's] testimony on face value

because of that temporal hurdle[,] [we] don't find that [Bezer's] complaints

regarding Hudnut's decisions on marijuana [were] in any way related to the

subsequent discipline that he received." Thus, Bezer's "'conclusory and self-

serving assertion . . . [was] insufficient to overcome' [a motion for] summary

judgment." Dickson v. Cnty. Bus Lines, Inc., 458 N.J. Super. 522, 533 (App.

Div. 2019) (quoting Puder v. Buechel, 183 N.J. 428, 440-41 (2005)).

      We, therefore, conclude no genuine issue of material fact exists, and those

facts which are material do not constitute support for Bezer's cause of action.

Accordingly, Bezer failed to establish a prima facie CEPA claim, and summary

judgment was correctly granted to defendants.

      Affirmed.




                                                                          A-0774-22
                                      15
